                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              DOCKET NO. 3:95-cr-00178-FDW-3


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )
 BRYANT LAMAR ALEXANDER,                           )                    ORDER
                                                   )
                Defendant.                         )
                                                   )
                                                   )

       THIS MATTER comes now before the Court upon Defendant’s “Motion to Terminate

Supervised Release” (Doc. No. 453). The Government has responded to Defendant’s motion (Doc.

No. 454) and this matter is now ripe for review. For the reasons that follow, Defendant’s motion is

DENIED.

       On January 10, 1996, pursuant to a plea agreement, Defendant pleaded guilty to conspiracy

to possess with intent to distribute and to distribute cocaine and crack cocaine within one thousand

feet of a school and a playground in violation of 21 U.S.C. § 846. The Court sentenced Defendant

to 168 months’ imprisonment to be followed by a ten-year term of supervised release. This extended

term of supervised release was based on 21 U.S.C. § 860(a), which provides that any person who

distributes a controlled substance within one thousand feet of a school or playground is subject to

“at least twice any term of supervised release authorized by section 841(b) of this title for a first

offense.” There is no dispute as to the nature of Defendant’s crime and conviction, as he has

voluntarily pleaded guilty. Similarly, there is no dispute that 21 U.S.C. § 860(a) applied at the time

of sentencing and continues to apply to Defendant today.




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        Defendant has currently served one year of his term of supervised release. He requests, based

on United States v. Spinelle, 835 F. Supp. 987 (E.D. Mich. 1993), that the Court now remove him

from supervised release. The Court, however, sees no reason to do so. In order to terminate a

defendant’s term of supervised release, the Court must be “satisfied that such action is warranted by

the conduct of the defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1). For

example, in the case cited by Defendant, the court noted that it was “unusual” to make such a

reduction and did so only because of the exceptional efforts the defendant had undertaken in order

to rehabilitate himself. Spinelle, 835 F. Supp. at 993. Defendant’s motion presents neither unusual

circumstances nor facts tending to indicate an exceptional effort at rehabilitation. In fact, it presents

no facts at all, other than the fact that Defendant has completed one year of supervised release.

Under these circumstances, the Court declines to exercise is discretionary authority to terminate

Defendant’s term of supervised release.

        Accordingly, Defendant’s motion is DENIED and his term of supervised release shall

continue as originally sentenced.

        IT IS SO ORDERED.                          Signed: April 29, 2008




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